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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x

 

SADY LOPEZ CORDOVA, individually and on behalf of all
others similarly situated,

Plaintiff. COLLECTIVE ACTION
° COMPLAINT
-against-
JURY TRIAL
VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI DEMANDED

LANDSCAPE SERVICE CENTER ., and CHARLES
VIGLIOTTI, as an individual,

Defendants.

 

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Plaintiff, SADY LOPEZ CORDOVA, individually and on behalf of all others
similarly situated, (hereinafter referred to as "Plaintiff'), by his attorneys at Helen F.
Dalton & Associates, P.C., alleges, upon personal knowledge as to himself and upon
information and belief as to other matters, as follows:

PRELIMINARY STATEMENT
Plaintiff, SADY LOPEZ CORDOVA, individually and on behalf of all others
similarly situated, through undersigned counsel, brings this action against
VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE SERVICE
CENTER, and CHARLES VIGLIOTTI, as an individual, (hereinafter referred to as
"Defendants"), to recover damages for egregious violations of state and federal wage
and hour laws arising out of Plaintiffs employment at VIGLIOTTI ENTERPRISES,
LLC d/b/a VIGLIOTTI LANDSCAPE SERVICE CENTER, located at 100 Urban
Avenue, Westbury, NY 11590-4823.

. Asa result of the violations of Federal and New York State labor laws delineated

below, Plaintiff seeks compensatory damages and liquidated damages in an amount

 
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exceeding $100,000.00. Plaintiff also seeks interest, attorneys’ fees, costs, and all

other legal and equitable remedies this Court deems appropriate.

JURISDICTION AND VENUE
This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant to
the FLSA, 29 U.S.C. §216 and 28 U.S.C. §1331.
This Court has supplemental jurisdiction over Plaintiffs state law claims pursuant to
28 U.S.C, §1367.
Venue is proper in the EASTERN District of New York pursuant to 28 U.S.C.
§1391(b) because a substantial part of the events or omissions giving rise to the
claims occurred in this district.
This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.

§§2201 & 2202.

THE PARTIES

Plaintiff, SADY LOPEZ CORDOVA, residing at 85 Vancott Avenue, Hempstead,
New York 11550, was employed from in or around June 2019 until in or around
October 2019 by Defendants at VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI
LANDSCAPE SERVICE CENTER, located at 100 Urban Avenue, Westbury, New
York 11590.

Defendant, VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE
SERVICE CENTER, is a corporation organized under the laws of New York.
Defendant, VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE
SERVICE CENTER, is a corporation authorized to do business under the laws of
New York.

Upon information and belief, Defendant, VIGLIOTTI ENTERPRISES, LLC d/b/a
VIGLIOTTI LANDSCAPE SERVICE CENTER, is a corporation organized under
the laws of New York with a principal executive office at 100 Urban Avenue,

Westbury, New York 11590.
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Upon information and belief, Defendant, CHARLES VIGLIOTTI, owns and operates
VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE SERVICE
CENTER.

Upon information and belief, Defendant, CHARLES VIGLIOTTI, is an agent of
VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE SERVICE
CENTER.

Upon information and belief, Defendant, CHARLES VIGLIOTTI, has power over
personnel decisions at VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI
LANDSCAPE SERVICE CENTER.

Upon information and belief, Defendant, CHARLES VIGLIOTTI, has power over
payroll decisions at VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI
LANDSCAPE SERVICE CENTER.

Defendant, CHARLES VIGLIOTTI has the power to hire and fire employees,
including the Plaintiff, at VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI
LANDSCAPE SERVICE CENTER, establish and pay their wages, set their work
schedule, and maintain their employment records.

During all relevant times herein, Defendant, CHARLES VIGLIOTTI, was Plaintiff's
employer within the meaning of the FLSA and NYLL.

Upon information and belief, VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI
LANDSCAPE SERVICE CENTER, is, at present and has been at all times relevant to
the allegation in the complaint, an enterprise engaged in interstate commerce within
the meaning of the FLSA in that the entity @) has had employees engaged in
commerce or in the production of goods for commerce, and handle, sell or otherwise
work on goods or material that have been moved in or produced for commerce by any

person: and (ii) has had an annual gross volume of sales of not less than $500,000.00.

FACTUAL ALLEGATIONS
Plaintiff, SADY LOPEZ CORDOVA, was employed from in or around June 2019
until in or around October 2019 by Defendants at VIGLIOTTI ENTERPRISES, LLC
d/b/a VIGLIOTTI LANDSCAPE SERVICE CENTER.
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During Plaintiff SADY LOPEZ CORDOVA’S employment by Defendants, Plaintiffs
primary duties were as a landscaper, while performing other miscellaneous duties
from in or around June 2019 until in or around October 2019.

Plaintiff SADY LOPEZ CORDOVA was paid by Defendants approximately $115.00
per day from in or around June 2019 until in or around October 2019.

Plaintiff worked approximately sixty-three (63) hours or more per week during his
employment by Defendants from in or around June 2019 until in or around October
2019.

Although Plaintiff, SADY LOPEZ CORDOVA, worked approximately sixty-three
(63) hours or more per week during his employment by Defendants from in or around
June 2019 until in or around October 2019, Defendants did not pay Plaintiff time and
a half (1.5) for hours worked over forty (40), a blatant violation of the overtime
provisions contained in the FLSA and NYLL.

Upon information and belief, Defendants willfully failed to post notices of the
minimum wage and overtime wage requirements in a conspicuous place at the
location of their employment as required by both the NYLL and the FLSA.

Upon information and belief, Defendants willfully failed to keep payroll records as
required by both NYLL and the FLSA.

As a result of these violations of Federal and New York State labor laws, Plaintiff
seeks compensatory damages and liquidated damages in an amount exceeding
$100,000.00. Plaintiff also seeks interest, attorneys’ fees, costs, and all other legal and

equitable remedies this Court deems appropriate.

COLLECTIVE ACTION ALLEGATIONS
Plaintiff brings this action on behalf of himself and other employees similarly situated
as authorized under the FLSA, 29 U.S.C. § 216(b). The employees similarly situated
are the collective class.
Collective Class: All persons who are or have been employed by the Defendants as
landscapers, or other similarly titled personnel with substantially similar job
requirements and pay provisions, who were performing the same sort of functions for

Defendants, other than the executive and management positions, who have been
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subject to Defendants’ common practices, policies, programs, procedures, protocols
and plans including willfully failing and refusing to pay required overtime wage
compensation.
Upon information and belief, Defendants employed between 20 and 30 employees
within the past three years subjected to similar payment structures.
Upon information and belief, Defendants suffered and permitted Plaintiff and the
Collective Class to work more than forty hours per week without appropriate
overtime compensation.
Defendants’ unlawful conduct has been widespread, repeated, and consistent.
Upon information and belief, Defendant had knowledge that Plaintiff and the
Collective Class performed work requiring overtime pay.
Defendants’ conduct as set forth in this Complaint, was willful and in bad faith, and
has caused significant damages to Plaintiff and the Collective Class.
Defendants are liable under the FLSA for failing to properly compensate Plaintiff and
the Collective Class, and as such, notice should be sent to the Collective Class. There
are numerous similarly situated current and former employees of Defendants who
have been denied overtime pay in violation of the FLSA and NYLL, who would
benefit from the issuance of a Court-supervised notice of the present lawsuit, and the
opportunity to join the present lawsuit. Those similarly situated employees are
known to Defendants and are readily identifiable through Defendants’ records.
The questions of law and fact common to the putative class predominate over any
questions affecting only individual members.
The claims of Plaintiff are typical of the claims of the putative class.
Plaintiff and his counsel will fairly and adequately protect the interests of the putative
class.
A collective action is superior to other available methods for the fair and efficient
adjudication of this controversy.
FIRST CAUSE OF ACTION

Overtime Wages Under The Fair Labor Standards Act

Plaintiff re-alleges and incorporates by reference all allegations in all preceding

paragraphs.
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Plaintiff has consented in writing to be a party to this action, pursuant to 29 U.S.C.
§216(b).

At all times relevant to this action, Plaintiff was engaged in commerce or the
production of goods for commerce within the meaning of 29 U.S.C. §§206(a) and
207(a).

At all times relevant to this action, Defendants were employers engaged in commerce
or the production of goods for commerce within the meaning of

29 U.S.C. §§206(a) and 207(a).

Defendants willfully failed to pay Plaintiff overtime wages for hours worked in
excess of forty (40) hours per week at a wage rate of one and a half (1.5) times the
regular wage, to which Plaintiff was entitled under 29 U.S.C. §§206(a) in violation of
29 U.S.C. §207(a)(1).

Defendants’ violations of the FLSA as described in this Complaint have been willful
and intentional. Defendants have not made a good effort to comply with the FLSA
with respect to the compensation of the Plaintiff.

Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from Defendants,
jointly and severally, his unpaid wages and an equal amount in the form of liquidated
damages, as well as reasonable attorneys fees and costs of the action, including

interest, pursuant to the FLSA, specifically 29 U.S.C. §216(b).

SECOND CAUSE OF ACTION

Overtime Wages Under New York Labor Law
Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.
At all times relevant to this action, Plaintiff was employed by Defendants within the
meaning of New York Labor Law §§2 and 651.
Defendants failed to pay Plaintiff overtime wages for hours worked in excess of forty
hours per week at a wage rate of one and a half (1.5) times the regular wage to which
Plaintiff was entitled under New York Labor Law §652, in violation of 12
N.Y.C.R.R. 137-1.3.
49. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover
from Defendants, jointly and severally, his unpaid overtime wages and an amount
equal to his unpaid overtime wages in the form of liquidated damages, as well as
reasonable attorneys’ fees and costs of the action, including interest in accordance

with NY Labor Law §198(1-a).

THIRD CAUSE OF ACTION
Violation of the Notice and Recordkeeping Requirements of the New York Labor Law

50. Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.

51. Defendants failed to provide Plaintiff with a written notice, in English and in Spanish
(Plaintiffs’ primary language), of their rate of pay, regular pay day, and such other
information as required by NYLL §195(1).

52. Defendants are liable to Plaintiff in the amount of $5,000.00 per Plaintiff, together

with costs and attorneys’ fees.

FOURTH CAUSE OF ACTION
Violation of the Wage Statement Requirements of the New York Labor Law
53, Plaintiff re-alleges and incorporates by reference all allegations in all preceding
paragraphs.
54, Defendants failed to provide Plaintiff with wage statements upon each payment of
wages, as required by NYLL §195(3)
55. Defendants are liable to Plaintiff in the amount of $5,000.00 per Plaintiff, together

with costs and attorneys’ fees.

PRAYER FOR RELIEF
Wherefore, Plaintiff respectfully request that judgment be granted:
a. Declaring Defendants’ conduct complained herein to be in violation of the
Plaintiff's rights under the FLSA, the New York Labor Law, and its regulations;

b. Awarding Plaintiff unpaid overtime wages;

 
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c. Awarding Plaintiff liquidated damages pursuant to 29 U.S.C. §216 and New
York Labor Law §§198(1-a), 663(1);

d. Awarding Plaintiff prejudgment and post-judgment interest;

e. Awarding Plaintiff the costs of this action together with reasonable attorneys’
fees; and

f, Awarding such and further relief as this court deems necessary and proper.

DEMAND FOR TRIAL BY JURY
Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury on all questions of fact raised by the complaint.

Dated: This {4*day of January 2019,
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SADY LOPEZ CORDOVA, individually and on behalf of all others similarly situated,
Plaintiff,
-against-

VIGLIOTTI ENTERPRISES, LLC d/b/a VIGLIOTTI LANDSCAPE SERVICE CENTER, and
CHARLES VIGLIOTTI, as an individual,

Defendants.

 

SUMMONS & COMPLAINT

 

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TO:

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